                IN THE UNITED STATES DISTRICT COURT FOR THE
                        MIDDLE DISTRICT OF TENNESSEE
                             NASHVILLE DIVISION

JOHNNY M. HUNT,              )
                             )
     Plaintiff,              )
                             )
vs.                          )                        Case No. 3:23-cv-00243
                             )
SOUTHERN BAPTIST CONVENTION; )                        Judge Campbell
GUIDEPOST SOLUTIONS LLC; and )                        Magistrate Judge Frensley
EXECUTIVE COMMITTEE OF THE )                          Jury Demand
SOUTHERN BAPTIST CONVENTION, )
                             )
     Defendants.             )



                      MOTION FOR LEAVE TO FILE UNDER SEAL


       Pursuant to Rules 5.03 and 7.01 of the Local Rules of Court and the Agreed Protective

Order previously entered in this action (ECF Doc. No. 52), Plaintiff Johnny M. Hunt respectfully

submits this Motion for Leave to File Under Seal his Memorandum in Support of Response to

Motion for Leave to File Under Seal (the “Sealing Memorandum”) and his Consolidated

Memorandum in Support of Plaintiff’s Reply in Support of Motion to Compel and Plaintiff’s

Response in Opposition to Guidepost Solutions LLC’s Motion for Protective Order and In

Camera Review (the “Consolidated Memorandum”), pending adjudication of the Motion for

Leave to File Under Seal filed by Guidepost (ECF Doc. No. 64). The Sealing Memorandum and

the Consolidated Memorandum reference certain redacted portions of the Memorandum of Law

in Support of Motion by Defendant Guidepost Solutions LLC for a Protective Order and In

Camera Review (ECF Doc. No. 63) and the Declaration of Steven G. Mintz (ECF Doc. No. 65),

both of which Guidepost is attempting to seal.



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  Case 3:23-cv-00243        Document 71          Filed 10/27/23   Page 1 of 4 PageID #: 829
       Plaintiff categorically and unequivocally opposes the attempt by Guidepost to seal the

redacted portions of its Memorandum of Law in Support of Motion by Defendant Guidepost

Solutions LLC for a Protective Order and In Camera Review (ECF Doc. No. 63) and the

Declaration of Steven G. Mintz (ECF Doc. No. 65). For the reasons set out in his opposition to

Guidepost’s Motion for Leave to File Under Seal, the Court should deny Guidepost’s attempts to

hide its damaging admissions from the public. None of the information Guidepost seeks to

maintain under seal is confidential, and Guidepost has failed to carry the very heavy burden of

justifying sealing the referenced documents.

       While Plaintiff disagrees that any of the information sought to be sealed by Guidepost

should be sealed, Plaintiff files the instant motion in an effort to ensure compliance with the

Local Rules of the Court and the Agreed Protective Order previously entered in this action (ECF

Doc. No. 52), until such time as the Court adjudicates the Motion for Leave to File Under Seal

filed by Guidepost (ECF Doc. No. 64).

       For the foregoing reasons, as well as the reasons set forth in the accompanying Sealing

Memorandum and the Consolidated Memorandum, this Court should deny the Motion for Leave

to File Under Seal (ECF Doc. No. 64) and the Motion for a Protective Order and In Camera

Review (ECF Doc. No. 61) filed by Guidepost.




                                                 2
  Case 3:23-cv-00243         Document 71        Filed 10/27/23      Page 2 of 4 PageID #: 830
Dated:      October 27, 2023          Respectfully submitted,


                                      s/ Andrew Goldstein
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                                      -and-


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                                        3
  Case 3:23-cv-00243    Document 71    Filed 10/27/23      Page 3 of 4 PageID #: 831
                                  CERTIFICATE OF SERVICE

  I hereby certify that a true and correct copy of the foregoing Motion for Leave to File Under Seal
  has been served on October 27, 2023, using the CM/ECF system, which will automatically serve
  all counsel of record listed below:


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                                                 4
    Case 3:23-cv-00243        Document 71       Filed 10/27/23      Page 4 of 4 PageID #: 832
